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    6                  IN THE UNITED STATES DISTRICT COURT
    7               FOR THE CENTRAL DISTRICT OF CALIFORNIA
    8                              EASTERN DIVISION
    9   Michael J. Pravetz,                       No. 5:18-cv-01081-FMO-SK
  10                Plaintiff,                   [PROPOSED] ORDER
                                                 CONTINUING THE
  11                       v.                    SCHEDULING CONFERENCE
  12    Federal Retirement Thrift Investment
        Board,
  13
                    Defendant.
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  15          The Court, having considered the parties’ Stipulation to Continue the
  16    Scheduling Conference, HEREBY ORDERS that the scheduling conference is
  17    continued to December 6, 2018, with the deadlines in the Court’s October 11,
  18    2018 Order continued accordingly.
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  20    Dated:
                                                  Honorable Fernando M. Olguin
  21                                              United States District Judge
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